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UNITED STATES DISTRICT COUR'I`
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

_v,§'\z\\[rggm’§_ '\`)cll§\/t CaseNo.\S; 1"{_;%\) _ng

ORDER SETTING CONDITIONS OF RELEASE

lT IS ORDERED that the release of the defendant is subject to the following conditions and
provisions:

(1) The defendant must not violate any federal, state or local law while on release in this case.

(2) The defendant must cooperate in the collection of a DNA sample if the collection is
authorized by 42 U.S.C. § l4l35a.

(3) The defendant must immediately advise the court, Pretrial Services Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(4) The defendant must appear at all proceedings as required and must surrender for service of
any sentence imposed as directed. The defendant shall next appear in the United States
District Court where the charges are pending, or the United States Courthouse, 401 W.
Central Boulevard, Orlando, FL 32801, in the Courtroom directed upon notice.

(5) The defendant must report as soon as possible to the Pretrial Services Offlce any contact
with law enforcement personnel, including, but not limited to, any arrest, questioning, or
traffic stop.

(6) The defendant must refrain from any use or possession of a narcotic drug or other
controlled substances listed in 21 U.S.C. § 802, unless With prior written approval of the
Pretrial Services Offlcer or as may be lawfully prescribed in writing by a licensed medical
practitioner.

(7) Defendant shall not attempt to intluence, intimidate, injure, tamper with, or retaliate against
any juror, judicial officer, witness, victim, or informant in this case.

(8) If ordered to comply with drug testing or location monitoring, the defendant must refrain
from tampering with, obstructing, or attempting to obstruct or tamper, in any fashion, with
the efficiency and accuracy of any such testing or monitoring

 

 

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ADDITIONAL CONDITIONS OF RELEASE

In order to reasonably assure the appearance of the defendant and the safety of any person

and the community, it is FURTHER ORDERED that the release of the defendant is subject to the
conditions marked below:

** Defendant shall be subject to Pretrial Services supervision and shall report as directed by
the Pretrial Services Office.

** Defendant shall not change residential address without advanced approval from Pretrial
Services.

** Defendant shall refrain from having in the defendant’s residence, or otherwise in the
defendant’s possession, any firearm, ammunition, destructive device, or other dangerous
weapon.
Defendant shall refrain from the excessive use of alcohol.
Defendant shall refrain from the use of alcohol.
Defendant shall surrender any passport
prior to release; or
to Clerk, U.S. District Court, by 4:00 p.m. on
Defendant shall obtain no passport or travel documents

** Defendant’s travel and residence restricted to the Middle District of F]orida.

** Defendant’s travel restricted to

 

 

Notwithstanding the foregoing, Pretrial Services may approve travel.

** Defendant shall refrain from director indirect contact With any victim, witness, or the
family of any victim or witness, including specifically:

 

 

 

 

 

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Defendant shall execute a bond binding the defendant to pay the United States the sum of
$ in the event of a failure to appear as required or to surrender as
directed for service of any sentence imposed.

Defendant’s bond shall be secured by the following property:

 

 

The bond shall be co-signed by

 

Defendant shall provide a corporate surety bond guaranteeing payment to the United States
the sum of $ ‘ in the event of a failure to appear as required or to
appear for service of any sentence imposed.

Defendant shall be placed in the custody of ,
who shall act as a third party custodian in this case and who agrees to the following:

 

(a) to supervise the defendant in accordance with all the conditions of release, (b) to use
every effort to assure the appearance of the defendant at all scheduled court proceedings, and
(c) to notify the court immediately in the event the defendant violates any conditions of
release or disappears.

Signed:

 

Defendant shall maintain, actively seek, or commence:
verifiable employment
an education program

Defendant shall participate in a psychiatric and mental health assessment, evaluation, and
treatment, as directed by Pretn`al Services, with costs to be borne by the defendant, as
determined by Pretrial Services.

Defendant shall submit to any method of testing required by Pretrial Services for
determining whether the defendant is using a prohibited substance. Such methods may be
used with random frequency and include urine testing, the wearing of a sweat patch, a
remote alcohol testing system, and any form of prohibited substance screening or testing,

Defendant shall participate in a program of inpatient or outpatient substance abuse testing,
education, and treatment if deemed advisable by Pretrial Services and pay a percentage of ~
the fee, as determined by Pretrial Services.

 

 

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** Defendant shall participate in the Location Monitoring program and abide by all the rules
of the program and will pay all or part of the costs of the program as directed by Pretrial
Services:

** Curfew: You are restricted to your residence every day from 9:00 p.m. to @Q
a.rn., or as directed by the Pretrial Services Offlce.

Home Detention: You are restricted to your residence at all times except for
employment; education; religious services; medical, substance abuse, or mental
health treatment; attorney visits; court appearances ; court-ordered obligations; or
other activities as pre-approved by the Pretrial Services Office.
Home Incarceration: You are restricted to your residence at all times except forl
medical needs or treatment, religious services, and court appearances pre-approved
by the Pretrial Services Offlce.
Location Monitoring will be performed:

using GPS monitoring equipment
using electronic monitoring equipment, at the discretion of Pretrial Services.

** Defendant shall have no contact with minors without a responsible adult present.

** Defendant shall have no contact with minors.

** Defendant’s residence shall not contain:
Intemet service accessible from inside the residence.
Any electronic device capable of connecting to the Intemet (including, but not
limited to any computer, smart phone, hand-held computing device, or gaming

console).

Any medium capable of storing data from the Intemet (for example, a flash drive, a
compact disc, a floppy disk, and cloud based storage).

Encrypted data, or any device capable of encrypting data.

 

 

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** Defendant shall not use or possess:

Any electronic device capable of connecting to the Intemet (including, but not
limited to any computer, smart phone, hand-held computing device, or gaming
console). This prohibition applies to all locations, Whether public or private, such as
libraries, intemet cafes, the defendant’s places of employment, educational facilities,
or any other third-party locations.

Any medium capable of storing data from the Internet (for example, a flash drive, a
compact disc, a tloppy disk, and cloud based storage).

' Encrypted data, or any device capable of encrypting data.

Defendant may use an electronic device and access the Intemet at Work solely for work-
related purposes and shall not access any illegal or prohibited content. Defendant and his
employer must permit routine inspection of the electronic device to confirm adherence to
this condition. You must inform your employer and any other third party that this condition,
including the inspection provision. Pretrial Services must conduct any inspections in a
manner no more intrusive than necessary to ensure compliance with this condition,

The following additional conditions also apply:

 

 

 

 

 

 

 

 

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ADVICE OF PENALTIES AND SANCTIONS TO THE DEFENDANT

A violation of any of the foregoing conditions of release may result in the immediate
issuance of a warrant for your arrest, a revocation of release, an order of detention, and a
prosecution for contempt of court and could result in a term of imprisonment, a tine, or both.

The commission of a Federal offense while on pretrial release may result in an additional
sentence to a term of imprisonment of not more than ten years, if the offense is a felony; or a
term of imprisonment of not more than one year, if the offense is a misdemeanor. This
sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a
$250,000 fine or both to obstruct a criminal investigation It is a crime punishable by up to
ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim or
informant; to retaliate or attempt to retaliate against a witness, victim or inforrnant; or to
intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court.
The penalties for tampering, retaliation, or intimidation are significantly more serious if they
involve a killing or attempted killing.

If after release, you knowingly fail to appear as required by the conditions of release, or
to surrender for the service of sentence, you may be prosecuted for failing to appear or
surrender and additional punishment may be imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of
fifteen years or more, you shall be fined not more than $250,000 or imprisoned for not
more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less
than fifteen years, you shall be fined not more than $250,000 or imprisoned not more
than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not
more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more
than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition
to the sentence for any other offense. In addition, a failure to appear may result in the
forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that l am aware of the
conditions of release. I promise to obey all conditions of release, to appear as directed, and

 

 

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to surrender for service of any sentence i posed. I am aware of the penalties and sanctions
set forth above.

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ly _ Signature of Defendant
1313 p\`ra>rnt\q /l`r_tt iii fairly
Address
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thusth \ll ¢"v'lij”' »\ri\/ sit-arron
City\and State Telephone

DIRECTI NS TO THE UNITED STATES MARSHAL
The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until
notified by the Clerk or J udicial Officer that the defendant has posted bond and/or
complied with all other conditions for release. The defendant shall be produced
before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: /_)_r/-o ~ 5 0 »2017 (’/;/C//-_

/DAT~JIEL C. 1RicK
UNITED srArEs MAGis'rRArE JUDGE

 

Copies furnished to:

Pretrial Services Office

United States Marshals S_ervice
Assistant U.S. Attorney
Defendant

 

